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EXHIBIT A
03/28/2005 GAR aOR B22 FoPPCUN CNEObrREe BilmANOMABESBAPAge 2 of 3 PagelD #, FB 9O37003

ea ° ss.onc2 MAR 2 8 2005 State of Wisconsin
13. Stats. WISCONSTA Parent f Financial Institutions
, DF ion of Corporate snd Consumer Services

ARTICLES OF ORGANIZATION - LIMITED LIABILITY COMPANY

 

Executed by the undersigned for the purpose of forming a Wisconsin limited liability company under Ch.
183 of the Wisconsin Statutes:

Article 1. Name of the limited liability company:
QRS BLOSCIENCE. LLG

Article 2, The limited liability company is organized under Ch. 183 of the Wisconsin Stitutes.
G&K Wisconsin Services, LLC

 

 

Article 3. Name of the initial registered agent:

 

Asticle 4, Street address of the initial registered office:  —N21._W23350 Ridgeview Parkway
(The completa address, including street and mumber, if

assigned, and ZIP code. P O Box address may be - Waukesha, WI 53188
included as part of the address, but is insufficient alone.)

 

 

Article 5. Management of the limited liability company shall be vested in:
(Select and check (X) the one appropriate choice below)

X. manager or managers
OR
[iss members

Article 6. Name and complete address of cach organizer.

GEK Wisconsin Services, LLC
N21 W23350 Ridgeview Parkway

Waukesha, Exe 8
' ExEly Organizer’s signature

This ent was ¢ ftedd by Robert C. Risch, Jr.
(Name the individual who drafted the document)

 

 

 

> OPTIONAL - Second choice company uame if first choice is not available:

 

FILING FEE - $170.00 See instructions, suggestions, and procedures on following pages.
(Note; Electronic edition of this form is “Quickstart LLC,” available at www.wdfi.org at & lowor fee.)
DFVCORP/502(R04/22/03) Use of this form is voluntary. 1 of2

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GodErey & Kahn, §.¢.

N21 W23250 Ridgeview Parkway DEPARTMENT OF

Waukesha, WE 53188 FINANCIAL INSTITUTIONS A
> Your name, return address and phone namber during the day ( {262} ssac7e0g_ 413
INSTRUCTIONS (Ref. soc. 183.0202 Wis. Stats. for document content) B 5

Submit one original and one exact copy to Department of Financial Institutions, P O Box 7846, Madison
WI, 53707-7846, together with the appropriste FILING FEE of $170. Fili fee is non-refandabie. (If
sent by Express or Priority US. rail, address to 345 W. Washington Ave., 3 Floor, Madison WI,
53703). Sign the document manuatly or otherwise as allowed under sec. 183.0107(2), Wis. Stats.
NOTICE: ‘This form may be used to eccomplish a filing required or permitted by statute to be made with
the department. Information requested may be used for secondary purposes. If you have any questions,
please contact the Division of Corporate & Consumer Services at 608-261-7577. Hearing-impaired may
cali 608-266-8818 for TTY. This document can be made available in alternate formats upon request to
quatifying individuals with disabilities.

Article 1. The name must contain the words “limited lability company” or “limited liability oo.” or end
with the abbreviation “L.L.C.” or “LLC”. If you wish to provide a second choice pame that you would
accept if your first choice is not available, enter it in the “Optional” area on page 1.

Asticle 2. This statement is required by sec. 183.0202(1).

Articles 3 & 4. The company must have a registered agent located at a registered office in Wisconsin.
The address of the registered office is to describe the physical location where the registered agent
maintains their business office. Provide the street number and name, city and ZIP code in Wisconsin.

P O Box addresses may be included as part of the address, but are insufficient alone. The company may
not name itself as its own registered agent.

Arficle 5. Indicate whether management of the company will be vested in a manager or managers, or in
its members. Select only one choice. (Ref. sec. 183.0401, Wis. Stats.)

Article 6. Print or typewrite the name and complete address of each organizer. At least one organizer is
required to sign the document, although all organizers may sign.

If the document is executed in Wisconsin, sec. 182.01(3), Wis. Stats., provides that it shall not be filed
unless the name of the drafter (either an individual or a govermental agency) is printed in a legible
manner. If the document is not executed in Wisconsin, enter that remark.

This document may declare a delayed effective date. To do so, enter a remark: “This document has a
delayed effective date of {enter the future dats) .” The delayed efiective date may not before, or more
than 90 days after, the document is received by the Department of Financial Institutions for filing.

NOTE: The articles of organization may contain only thet information required under items 1 through 6.
The company may create @ separate operating agreement that includes additions! information.

DFI/CORP/S02(R04/22/03) 2 o0f2

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